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                   IN THE UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,

                    Plaintiff,                              4:13CR3130

      vs.
                                                              ORDER
DARIO CABALLERO-ARREDONDO,

                    Defendant.

       The defendant has previously been appointed counsel in case 4:14cr3011,
therefore, I find that the above-named defendant is eligible for appointment of counsel
pursuant to the Criminal Justice Act, 18 U.S.C. §3006A, and Amended Criminal Justice
Act Plan for the District of Nebraska.

       IT IS ORDERED that John Berry, Jr. is appointed as attorney of record for the
above-named defendant in this matter and shall forthwith file an appearance in this
matter.

      IT IS FURTHER ORDERED that the Federal Public Defender’s Office shall
forthwith provide counsel with a draft appointment order (CJA Form 20) bearing the
name and other identifying information of the CJA Panel attorney identified in
accordance with the Criminal Justice Act Plan for this district.

       IT IS FURTHER ORDERED that the Clerk shall provide a copy of this order to
the Federal Public Defender for the District of Nebraska and John Berry, Jr..

      DATED this 17th day of November, 2014.

                                        BY THE COURT:

                                        s/ Cheryl R. Zwart
                                        United States Magistrate Judge
